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irvin CF iii l.i§i»€PHiS
-vs- Case No. 2:00cr20068-99-D

COREY D. JONES

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
~ The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
~ Probation/Supervised Release Violation

yca
DONE and ORDERED in 167 North Main, Mernphis, this a 5 day of July, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE IUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Ofiice

Assistant Federal Public Defender
lntake

COREY D. JONBS

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with Rule 55 and/or 32(\)) FRCrP on /

- WESTNER DISTCRIT OF TNNEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 58 in
case 2:00-CR-20068 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

